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 1     Kevin G. Little, SBN 149818
       LAW OFFICE OF KEVIN G. LITTLE
 2     Post Office Box 8656
       Fresno, California 93747
 3
       Telephone: (559) 342-5800
 4     Facsimile: (559) 242-2400
       Attorneys for Defendant Aida Corona
 5
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                       Case No. 1:18-cr-00182-LJO-SKO

12                                    Plaintiff,
                                                       STIPULATION TO RELEASE COPY OF
13                                                     PASSPORT TO COUNSEL FOR
                               v.                      DEFENDANT AIDA CORONA FOR
14                                                     IMMIGRATION PURPOSES; ORDER
       AIDA CORONA,
15
                                     Defendant.
16
17            WHEREAS the defendant surrendered her passport as a condition of her pretrial

18     release (DN13, p. 2); and

19            WHEREAS the defendant’s ongoing immigration proceedings require her to present a
       copy of said passport to the Board of Immigration Appeals; and
20
              WHEREAS the copy of the defendant’s passport will be delivered to her immigration
21
       attorney directly by her undersigned counsel of record in these proceedings,
22
              IT IS HEREBY STIPULATED that a representative of The Law Office of Kevin G.
23
       Little may obtain a copy of the defendant’s deposited passport for the sole purpose of
24
       delivering said copy directly to Attorney Marlon L. Sinder, Esq. at the following address:
25
     ///
26
     ///
27
     ///
28



     STIPULATION AND ORDER
     Case 1:18-cr-00182-JLT-SKO Document 63 Filed 07/25/19 Page 2 of 2

 1          Marlon L. Sinder, Esq.
            Gleckman & Sinder
 2          3435 Wilshire Blvd, Ste 2380
            Los Angeles, CA 90010
 3
 4          SO STIPULATED.

 5                                               Respectfully submitted,
 6 Dated: July 24, 2019                          McGREGOR W. SCOTT
 7                                               United States Attorney

 8                                               /s/ Laura D. Withers
                                                 LAURA D. WITHERS
 9                                               Assistant U.S. Attorney
10
      Dated: July 24, 2019                       LAW OFFICE OF KEVIN G. LITTLE
11
                                                 /s/ Kevin Little
12                                               KEVIN LITTLE
13                                               Attorney for Defendant

14
15
16                                             ORDER

17          Good cause appearing, the Court accepts the parties’ stipulation and makes the

18 following order: A representative of The Law Office of Kevin G. Little may obtain a copy of
19 the defendant’s deposited passport for the sole purpose of delivering said copy directly to
20 Attorney Marlon L. Sinder, Esq. at the above address.
21
22 IT IS SO ORDERED.
23
        Dated:     July 25, 2019                              /s/
24                                                       UNITED STATES MAGISTRATE JUDGE

25
26
27
28


     STIPULATION AND ORDER
                                                   -2-
